      Case 2:11-cr-00100-SAB              ECF No. 420      filed 05/08/15      PageID.1433 Page 1 of 2
PROB 12C                                                                                  Report Date: May 8, 2015
(7/93)

                                       United States District Court

                                                       for the

                                          Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Ronald Dale Mueller                      Case Number: 0980 2:11CR00100-SAB-1
 Address of Offender: Spokane County Jail
 Name of Sentencing Judicial Officer: The Honorable Stanley Allen Bastian, U.S. District Judge
 Date of Original Sentence: May 4, 2012
 Original Offense:        Dealing in Counterfeit Currency, 18 U.S.C. §§ 473 and 2
 Original Sentence:       Prison 30 months;                 Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Earl A. Hicks                     Date Supervision Commenced: October 31, 2014
 Defense Attorney:        Steven Roberts                    Date Supervision Expires: October 30, 2017


                                           PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 04/21/2015.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           6            Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Mandatory Condition # 3: The defendant shall not illegally possess a controlled substance.

                        Supporting Evidence: On May 5, 2015, Ronald Mueller was arrested by authorities on his
                        outstanding federal probation warrant and his outstanding state probation warrant. At the
                        time of his arrest, he was found to be in possession of a quantity of heroin and
                        methamphetamine. Subsequently, felony drug charges against Mr. Mueller are now pending
                        in Spokane County Superior Court, case number 15-1-01734-0.
           7            Special Condition # 18: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall
                        allow full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: Ronald Mueller failed to attend scheduled substance abuse treatment
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                     group sessions at Adept on April 27 and May 4, 2015.
          8          Special Condition # 19: You shall abstain from the use of illegal controlled substances, and
                     shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                     tests per month, in order to confirm continued abstinence from these substances.

                     Supporting Evidence: Ronald Mueller failed to report as directed for substance abuse
                     testing on April 21, 24, and 29, 2015.




                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      05/08/2015
                                                                             s/Richard Law
                                                                             Richard Law
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [X ]     Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                             Signature of Judicial Officer
                                                                               05/08/2015
                                                                             Date
